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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
                            Plaintiff,            )
                                                  )
                       v.                         )   No. 1:24-cr-00143-JPH-KMB
                                                  )
JAMES WATT,                                       ) -01
                                                  )
                            Defendant.            )

                      PRELIMINARY ORDER OF FORFEITURE

      The government has filed a Motion for Preliminary Order of Forfeiture.

Dkt. [25]. That motion is GRANTED for the reasons in the motion.

      WHEREAS, an Information was filed on August 15, 2024, charging

Defendant with Count One Unlawful Production of Document or Authentication

Feature, in violation of 18 U.S.C. § 1028(a)(1), (b)(1)(A), and (b)(1)(B), and Count

Two Money Laundering, in violation of 18 U.S.C. § 1957; and

      WHEREAS, the Information gave notice of the United States' intent to

seek forfeiture of property for Count 1 pursuant to 18 U.S.C. § 981(a)(1)(C) and

28 U.S.C. § 2461(c), and for Count 2 pursuant to 18 U.S.C. 982(a)(1); and

      WHEREAS, Defendant has agreed to the forfeiture of the following

property:

      Pursuant to 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. § 2461(c):

            •   $4,899.00 U.S. Currency
                (Asset Identification No. 23-USP-000952);

            •   Fourteen (14) miscellaneous pieces of silver
                (Asset Identification No. 23-USP-001051);
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         •   13.38955552 Bitcoin
             (Asset Identification No. 23-USP-001154);

         •   0.03851831 Bitcoin
             (Asset Identification No. 23-USP-001165);

      Pursuant to 18 U.S.C. § 982(a)(1):

         •   Electronic equipment
                o Roland Versa UV LEF-12 UV Printer
                o Rollo Shipping Label Printer x1038
                o Moto G Stylus 5G
                o Lenovo IdeaPad 3-15 S/N PF32AN34
                o HP Envy x360 Laptop S/N BCG836697H
                o HP Envy x360 Laptop S/N BCG630004FX
                o Dell OptiPlex 7020 S/N 6FD4052
                o Dell OptiPlex 7060 S/N 2KYZLN2
                o Epson SC P700 Printer S/N X7X2010251
                o Epson SC P700 Printer S/N X7X2005338
                o Lexos Thumb Drive
                o Various USB Drives found in Room E in Ziploc bag
                o Lexos 16GB Thumb Drive
                o 128 GB Lexon Thumb Drive
                o USB flash drive
             (Collectively, Asset Identification Number: 23-USP-001348)

         •   Fake IDs and fake ID manufacturing materials
                o 3 ID Presses
                o Invisible UV Ink (One Box)
                o USPS Shipping Labels
                o James Watt IDs-Multiple States
                o Various State Holographic Print Outs w/ State Indentations
                o ID Viking ID
                o James Watt Iowa Fake ID
                o Partially Finished Fraud IDs
             (Collectively, Asset Identification Number: 23-USP-001349)

         •   Miscellaneous documents and notebooks seized from James Watt’s
             residence.
                o Misc. docs found within Room E
                o Purple Notebook ledger
                o Notebook with Cryptocurrency Information and Passwords
             (Collectively, Asset Identification Number: 23-USP-001350)

("Subject Property").

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         IT IS, THEREFORE, ORDERED, ADJUDGED, and DECREED that

Defendant's interest in the Subject Property described above is hereby

FORFEITED to the United States subject to adjudication of the Defendant's

guilt.

         The Attorney General or his designee is hereby authorized, pursuant to

21 U.S.C. § 853(g), as incorporated by 28 U.S.C. § 2461(c), to seize the Subject

Property.

         The United States is hereby ORDERED pursuant to 21 U.S.C. § 853(n)

and Federal Rule of Criminal Procedure 32.2(b)(6), to publish notice of this

Order of Forfeiture and the United States' intent to dispose of the Subject

Property in such manner as the Attorney General or his designee may direct,

and notice that any person other than Defendant having or claiming a legal

interest in the Subject Property must file a petition with this Court within

thirty (30) days of the final publication of notice or of personal receipt of notice,

whichever is earlier.

         IT IS FURTHER DECREED that this is a proper certificate under

28 U.S.C. § 2465, that there is reasonable cause for seizure of the Subject

Property, and that neither any officer or employee of the United States who

seizes the property nor the prosecutor bringing this action will be liable to suit

or judgment on account of this proceeding to forfeit the Subject Property.

SO ORDERED.

Date: 11/8/2024




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